Case 2:22-cv-00203-JRG-RSP Document 5-21
                                    1-21 Filed 06/13/22
                                               06/10/22 Page 1 of 9 PageID #: 907
                                                                              444




              Exhibit 21
Case 2:22-cv-00203-JRG-RSP Document 5-21
                                    1-21 Filed 06/13/22
                                               06/10/22 Page 2 of 9 PageID #: 908
                                                                              445




              JEDEC
              STANDARD


              PMIC50x0 Power Management IC
              Specification, Rev 1.0




              JESD301-1



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Case 2:22-cv-00203-JRG-RSP Document 5-21
                                    1-21 Filed 06/13/22
                                               06/10/22 Page 3 of 9 PageID #: 909
                                                                              446
  JEDEC Standard No. 301-1
  Page 2



  2.2      Common Features summary

                                        Table 1 — PMIC Device Type Summary
                     Device Type                        SWA          SWB           SWC          SWD         Unit
        PMIC5000 - Current Capability per Phase          5            5             5            5           A
        PMIC5010 - Current Capability per Phase          3            3             3            3           A

  • VIN_Bulk input supply range: 4.25 V to 15.0 V
  • VIN_Mgmt input supply range: 3.0 V to 3.6 V
  • Four step down switching regulators: SWA, SWB, SWC & SWD
  • Programmable dual phase and single phase regulator for SWA and SWB
  • 3 LDO regulators: VBias, VOUT_1.8V, VOUT_1.0V
  • Automatic switchover from VIN_Mgmt input supply to VIN_Bulk input supply
  • Error injection capability
  • Persistent Error log registers
  • Secure mode and programmable of operation
  • Independently programmable output voltages, power up and power down sequence for switch regulators
  • Input and output power good status reporting mechanism
  • VIN_Bulk input supply protection feature: Input over voltage
  • Output switch regulators protection feature: Output over voltage, output under voltage, output current limiter
  • Output current and power measurement, output current threshold mechanism
  • Temperature measurement, temperature warning threshold, critical temperature shutdown
  • Multi Time Programmable Non-Volatile Memory
  • Programmable and DIMM specific registers for customization
  • General Status Interrupt Function
  • Flexible Open Drain IO (I2C) and Push Pull (I3C Basic) IO Support
Case 2:22-cv-00203-JRG-RSP Document 5-21
                                    1-21 Filed 06/13/22
                                               06/10/22 Page 4 of 9 PageID #: 910
                                                                              447
                                                                                         JEDEC Standard No. 301-1
                                                                                                         Page 19




  7           Example Schematic

  Figure 9 shows an example schematic when PMIC is configured in dual phase regulator mode. Table 26, “PMIC
  Schematic Values” shows all component details shown in the schematics. Note that capacitors C25, C26, C27, C29,
  C30, C31 represents the lump sum of distributed capacitance across the entire DIMM.


   VIN_Mgmt
                          VIN_Mgmt              VIN_Bulk
                                                                              C1          C17
        C24        C14


                                                                  L1                                VDD_OUT
                                                   SWA
                          VOUT_1.8V
                                                           C2                       C3         C4              C27        C31
         C23        C15
                                             SWA_BOOT
                                                                  L2
                                                   SWB
                          SCL
                                                           C5
                          SDA                SWB_BOOT

                          SWB_FB_P           SWAB_FB_P
                                                                                                              DIMM Gold Finger
                          RFU1/RFU2
                                             SWAB_FB_N


                                                VIN_Bulk
                                                                              C6         C18


                          GSI_n
       DIMM               PWR_GOOD              VIN_Bulk
      Connector
                                                                               C7             C19
                                                                  L3
                          VOUT_1.0V
         C22       C16                             SWC
                                                                                    VDDQ_OUT
                                                           C9          C8                                     C25       C29
                                             SWC_BOOT

                                              SWC_FB_P

                                              SWC_FB_N


                          VBias                 VIN_Bulk
         C21        C13                                                       C10             C20

                                                                  L4

                                                   SWD
                          AGND                                                      VPP_OUT
                                                            C12         C11                          C26        C30

                                             SWD_BOOT
                          PGND (2x)
                                              SWD_FB_P

                                           SWD_FB_N/PID



                                  Figure 9 — Dual Phase Regulator Example Schematic
Case 2:22-cv-00203-JRG-RSP Document 5-21
                                    1-21 Filed 06/13/22
                                               06/10/22 Page 5 of 9 PageID #: 911
                                                                              448
  JEDEC Standard No. 301-1
  Page 20




  Figure 10 shows an example schematic when PMIC is configured in single phase regulator mode. Table 26, “PMIC
  Schematic Values” shows all component details shown in the schematics. Note that capacitors C25, C26, C27, C28,
  C29, C30, C31 and C32 represents the lump sum of distributed capacitance across the entire DIMM.



     VIN_Mgmt
                         VIN_Mgmt            VIN_Bulk
        C24        C14                                                      C1             C17


                                                                  L1
                         VOUT_1.8V                                                                VDD_OUT
                                                 SWA
        C23        C15
                                                           C2                     C3                            C27          C31

                                           SWA_BOOT
                                                                  L2
                                                 SWB
                         SCL                                                                    VXX_OUT
                                                           C5                     C4                            C28          C32
                         SDA               SWB_BOOT

                                           SWAB_FB_P
                         RFU1/RFU2                                                                              DIMM Gold Finger
                                          SWAB_FB_N


                                             VIN_Bulk
                                                                            C6                  C18
                                             SWB_FB_P

                         GSI_n

        DIMM             PWR_GOOD            VIN_Bulk
       Connector
                                                                                 C7              C19
                                                                  L3
                         VOUT_1.0V
        C22        C16                           SWC
                                                                                      VDDQ_OUT
                                                           C9          C8                                       C25          C29
                                           SWC_BOOT


                                           SWC_FB_P

                                           SWC_FB_N
                         VBias
        C21        C13
                                              VIN_Bulk
                                                                              C10                C20
                                                                  L4

                                                 SWD
                         AGND                                                         VPP_OUT
                                                            C12         C11                               C26          C30
                                           SWD_BOOT
                         PGND (2x)

                                            SWD_FB_P

                                         SWD_FB_N/PID




                               Figure 10 — Single Phase Regulator Example Schematic
Case 2:22-cv-00203-JRG-RSP Document 5-21
                                    1-21 Filed 06/13/22
                                               06/10/22 Page 6 of 9 PageID #: 912
                                                                              449
                                                                                                       JEDEC Standard No. 301-1
                                                                                                                       Page 37




                                            Table 30 — Events Interrupt Summary
                                         Status    Clear     Mask                             Trigger VR PWR_GOOD     GSI_n
                 Event                                                  Threshold Bits
                                          Bit       Bit       Bit                              Disable?    Output     Output
           VIN_Bulk Power Good           R08 [7]   R10 [7]   R15 [7]        R1A [7:5]            No          Low       Low
           VIN_Bulk Over Voltage         R08 [0]   R10 [0]   R15 [0]         R1B [7]             Yes         Low       Low
          VIN_Mgmt Over Voltage          R08 [1]   R10 [1]   R15 [1]         R1B [5]             No          High      Low
          SWA Output Power Good          R08 [5]   R10 [5]   R15 [5]   R21 [1:0]; R22 [7:6]      No          Low       Low
          SWB Output Power Good          R08 [4]   R10 [4]   R15 [4]   R23 [1:0]’ R24 [7:6]      No          Low       Low
          SWC Output Power Good          R08 [3]   R10 [3]   R15 [3]   R25 [1:0]; R26 [7:6]      No          Low       Low
          SWD Output Power Good          R08 [2]   R10 [2]   R15 [2]   R27 [1:0]; R28 [7:6]      No          Low       Low
           1.8 V LDO Power Good          R09 [5]   R11 [5]   R16 [5]         R1A [2]             No          Low       Low
           1.0 V LDO Power Good          R33 [2]   R14 [2]   R19 [2]         R1A [0]             No          Low       Low
           VBias LDO Power Good          R09 [6]   R11 [6]   R16 [6]         R1A [3]             No          Low       Low
          SWA Output Over Voltage        R0A [7]   R12 [7]   R17 [7]        R22 [5:4]            Yes         Low       Low
         SWB Output Over Voltage         R0A [6]   R12 [6]   R17 [6]        R24 [5:4]            Yes         Low       Low
         SWC Output Over Voltage         R0A [5]   R12 [5]   R17 [5]        R26 [5:4]            Yes         Low       Low
         SWD Output Over Voltage         R0A [4]   R12 [4]   R17 [4]        R28 [5:4]            Yes         Low       Low
         SWA Output Under Voltage        R0B [3]   R13 [3]   R18 [3]        R22 [3:2]            Yes         Low       Low
         SWB Output Under Voltage        R0B [2]   R13 [2]   R18 [2]        R24 [3:2]            Yes         Low       Low
         SWC Output Under Voltage        R0B [1]   R13 [1]   R18 [1]        R26 [3:2]            Yes         Low       Low
         SWD Output Under Voltage        R0B [0]   R13 [0]   R18 [0]        R28 [3:2]            Yes         Low       Low
     VBias LDO Output or VIN_Bulk
                                         R33 [3]   R14 [3]   R19 [3]     Vendor Specific         Yes         Low       Low
             Input Under Voltage
         SWA Output Current Limit        R0B [7]   R13 [7]   R18 [7]        R20 [7:6]            No          High      Low
         SWB Output Current Limit        R0B [6]   R13 [6]   R18 [6]        R20 [5:4]            No          High      Low
         SWC Output Current Limit        R0B [5]   R13 [5]   R18 [5]        R20 [3:2]            No          High      Low
         SWD Output Current Limit        R0B [4]   R13 [4]   R18 [4]        R20 [1:0]            No          High      Low
     SWA Output High Current/Power       R09 [3]   R11 [3]   R16 [3]        R1C [7:2]            No          High      Low
     SWB Output High Current/Power       R09 [2]   R11 [2]   R16 [2]        R1D [7:2]            No          High      Low
     SWC Output High Current/Power       R09 [1]   R11 [1]   R16 [1]        R1E [7:2]            No          High      Low
     SWD Output High Current/Power       R09 [0]   R11 [0]   R16 [0]        R1F [7:2]            No          High      Low
         High Temperature Warning        R09 [7]   R11 [7]   R16 [7]        R1B [2:0]            No          High      Low
             Critical Temperature        R08[6]     N/A       N/A           R2E [2:0]            Yes         Low       Low
    VIN_Mgmt to VIN_Bulk Switchover      R09 [4]   R11 [4]   R16 [4]         R2F [7]             No          High      Low
    Valid VIN_Mgmt in Switchover State   R33 [4]   R14 [4]   R19 [4]          N/A                No          High      Low
                  PEC Error              R0A [3]   R12 [3]   R17 [3]          N/A                No          High      Low
                  Parity Error           R0A [2]   R12 [2]   R17 [2]          N/A                No          High      Low



  The host is expected to read appropriate status registers to determine and isolate the cause of the GSI_n signal
  assertion or PWR_GOOD signal assertion. The host may attempt to clear or mask the appropriate corresponding
  interrupt event. The PMIC keeps the GSI_n signal asserted or PWR_GOOD signal asserted until the appropriate
  corresponding registers are explicitly cleared or masked by the host. Table 31 and Table 32 shows the PMIC’s
  response of GSI_n signal and PWR_GOOD output signal for each event before and after host issues the Clear
  command. The Table 31 and Table 32 assumes that all mask bits are either ‘0’ or ‘1’ for simplicity.
Case 2:22-cv-00203-JRG-RSP Document 5-21
                                    1-21 Filed 06/13/22
                                               06/10/22 Page 7 of 9 PageID #: 913
                                                                              450
  JEDEC Standard No. 301-1
  Page 40



  8.14     Input Power Good Status
  There is one possibility where PMIC recognizes the input supply fail.

  1.   VIN_Bulk goes below the threshold set in register Table 121, “Register 0x1A” [7:5].


  When this event occurs for a period longer than tInput_PWR_GOOD_GSI_Assertion time then PMIC sets the
  register Table 103, “Register 0x08” [7] and drives GSI_n and PWR_GOOD output signal as shown in Table 30 at the
  same time. The PMIC allows access to all registers and PMIC continues to operate as normal as long as VIN_Bulk
  input remains above 4.25 V. See also Section 8.18. The host is responsible for taking any specific action. The host
  may clear the VIN_Bulk input power good status register by writing ‘1’ to register Table 103, “Register 0x08” [7] or
  by writing ‘1’ to global status clear register Table 115, “Register 0x14” [0]. If the input power not good condition is
  still present then PMIC will continue to drive GSI_n and PWR_GOOD output signal as in Table 30 and the status
  register Table 103, “Register 0x08” [7] will remain at ‘1’. If the input power not good condition persists, the host may
  set the appropriate mask register to remove GSI_n or PWR_GOOD output signal as shown in Table 31 and Table 32.


  Note that after VR enable command, when VIN_Mgmt input goes below the threshold set in register Table 142,
  “Register 0x2F” [7], it is reported as switchover event as described in Section 8.22. Prior to VR Enable command, the
  VIN_Mgmt is always required to be above 2.8 V to guarantee PMIC’s functionality as described in Section 8.2.


  8.15     Input Over Voltage Protection
  An input over voltage protection mechanism is implemented to limit the voltages to the PMIC. The PMIC actively
  monitors the input voltage VIN_Bulk and VIN_Mgmt rail.

  There are two possibilities where PMIC recognizes the input over voltage event.

  1.   VIN_Mgmt input goes above the threshold set in register Table 122, “Register 0x1B” [5].
  2.   VIN_Bulk input goes above the threshold set in register Table 122, “Register 0x1B” [7].
  When either one or both event occurs for a period longer than tInput_OV_GSI_Assertion time then PMIC sets the
  register Table 103, “Register 0x08” [1:0] accordingly and drives GSI_n output signal as shown in Table 30 at the
  same time. Note that at this point, the PMIC does not assert PWR_GOOD output signal. The PMIC allows access to
  all registers and PMIC continues to operate as normal. The host is responsible for taking any specific action. The host
  may clear the VIN_Mgmt or VIN_Bulk input over voltage status register by writing ‘1’ to register Table 111,
  “Register 0x10” [1:0] appropriately or by writing ‘1’ to global status clear register Table 115, “Register 0x14” [0]. If
  the input over voltage condition is still present then PMIC will continue to assert GSI_n output signal and the status
  register Table 103, “Register 0x08” [1:0] will remain at ‘1’.


  In programmable mode (i.e., Table 142, “Register 0x2F” [2] = ‘1’), if VIN_Bulk input supply over voltage condition
  persists greater than tInput_OV_VR_Disable time then PMIC internally generates VR Disable command and disables
  all of its switching output regulators and asserts PWR_GOOD signal. The PMIC keeps its VOUT_1.8V and
  VOUT_1.0V LDO output regulators active. The PMIC allows access to all registers. The host is responsible for
  taking any specific action. The host may query the PMIC register space to determine the cause of the PWR_GOOD
  signal assertion and GSI_n signal assertion. Once host determines the cause, the host must first clear the VIN_Bulk
  input over voltage status register as well as any other relevant status registers individually or by writing ‘1’ to global
  status clear register Table 115, “Register 0x14” [0] which triggers the GSI_n signal to be de-asserted. If the input over
  voltage condition is still present then PMIC will continue to assert GSI_n output signal and the status register
  Table 103, “Register 0x08” [0] will remain at ‘1’. Once the status register is cleared and GSI_n output signal is de-
  asserted, the host may re-enable the PMIC’s output switching regulator by issuing VR Enable command. The PMIC
  enables output switching regulators and ensures PWR_GOOD signal is floated when all of its output regulators are
  normal and input over voltage condition is no longer present.
Case 2:22-cv-00203-JRG-RSP Document 5-21
                                    1-21 Filed 06/13/22
                                               06/10/22 Page 8 of 9 PageID #: 914
                                                                              451
                                                                                          JEDEC Standard No. 301-1
                                                                                                         Page 105



  14.2      Register Map Breakdown
                                          Table 96 — Register Map Breakdown
  Register Range          Region                                       Comments
   0x00 - 0x3F          Host RegionHost Accessible Registers
                                   DIMM Vendor Registers - Non Volatile Memory
                                   Allows DIMM vendors to program the PMIC for a given DRAM/DIMM vendor
                                   designs.
                                   These are password protected registers and password is selected by DIMM
                       DIMM Vendor
       0x40 - 0x6F                 vendor. Under normal operation, these registers are not used by any host.
                          Region
                                   These registers require password for read access. Access to these registers without
                                   correct password will return all data as ‘0’.
                                   These registers require complete power cycle before it takes in effect. Changing
                                   these registers under normal operation is considered an illegal operation.
                                   Vendor Specific Registers - Non Volatile Memory
                          Vendor   These are vendor specific password protected registers. Under normal operation
       0x70 - 0xFF       Specific  these registers are not used by any host.
                          Region   These registers require password for read access. Access to these registers without
                                   correct password will return all data as ‘0’.
  14.3      Register Memory Protection
  The PMIC DIMM vendors registers (0x40 - 0x6F) are password protected registers. Both Read and Write access to
  DIMM vendor registers are blocked unless it is unlocked by providing the correct password. The default password for
  DIMM vendor registers is 0x9473. The PMIC offers DIMM vendors to select their own password for DIMM vendor
  registers.

  14.3.1 Steps to Access DIMM Vendor Region Registers
  The steps to access the DIMM vendor registers are as following:
  1.    Write to register Table 149, “Register 0x37” = 8 bit password LSB code.
  2.    Write to register Table 150, “Register 0x38” = 8 bit password MSB code.
  3.    Write to register Table 151, “Register 0x39” = 0x40.
  4.    Perform Read operations to DIMM vendor registers as desired.
  5.    Write to register Table 151, “Register 0x39” = 0x00.

  14.3.2 Steps to Change DIMM Vendor Region Password
  By default, the DIMM vendor region register password is 0x9473. The steps to change the password from default
  password are as following:
  1.    Write to register Table 149, “Register 0x37” = 0x73.
  2.    Write to register Table 150, “Register 0x38” = 0x94.
  3.    Write to register Table 151, “Register 0x39” = 0x40.
  4.    Write to register Table 149, “Register 0x37” = New 8 bit password LSB code as desired by DIMM vendor.
  5.    Write to register Table 150, “Register 0x38” = New 8 bit password MSB code as desired by DIMM vendor.
  6.    Write to register Table 151, “Register 0x39” = 0x80.
  7.    Wait 200 ms.
  8.    Write to register Table 151, “Register 0x39” = 0x00.
  9.  Power cycle the PMIC. (Remove VIN_Bulk and VIN_Mgmt supply from the PMIC. The new password is in
      effect after the power cycle.
  To change the password again from this point on, repeat steps 1 to 8 but note that in steps 1 and 2 current password is
  required.
Case 2:22-cv-00203-JRG-RSP Document 5-21
                                    1-21 Filed 06/13/22
                                               06/10/22 Page 9 of 9 PageID #: 915
                                                                              452
  JEDEC Standard No. 301-1
  Page 112




                                                          Table 99 — Register 0x04
                      R04
       Bits        Attribute Default                                          Description1,2
                                                R04 [7]: GLOBAL_ERROR_COUNT
         7            ROE             0         Global Error Count Since Last Erase Operation3
                                                0 = No Error or Only 1 Error since last Erase operation
                                                1 = > 1 Error Count since last Erase operation
                                                R04 [6]: GLOBAL_ERROR_LOG_BUCK_OV_OR_UV
         6            ROE             0         Global Error Log History for Buck Regulator Output Over or Under Voltage4
                                                0 = No Error Occurred
                                                1 = Error Occurred
                                                R04 [5]: GLOBAL_ERROR_LOG_VIN_BULK_OVER_VOLTAGE
         5            ROE             0         Global Error Log History for VIN_Bulk Over Voltage4
                                                0 = No Error Occurred
                                                1 = Error Occurred
                                                R04 [4]: GLOBAL_ERROR_LOG_CRITICAL_TEMPERATURE
         4            ROE             0         Global Error Log History for Critical Temperature4
                                                0 = No Error Occurred
                                                1 = Error Occurred
        3:0            RV             0         R04 [3:0]: Reserved
    1. The PMIC always attempts to write this register into its non-volatile memory. However, it may not be guaranteed depending on how
       fast the host may shut off the input power to the PMIC. The PMIC needs minimum of 5.0V for VIN_Bulk voltage and 100 ms duration
       from PWR_GOOD signal assertion to guarantee the write operation into non-volatile memory.
    2. Host must explicitly perform Erase operation to erase this entire register Table 99, “Register 0x04” [7:0] via Table 151, “Register
       0x39”. The PMIC needs minimum of 100 ms for Erase operation.
    3. PMIC counts the error since last erase operation and if more than one error occurs, it sets this bit to ‘1’. Host must explicitly perform
       Erase operation to erase this entire register Table 99, “Register 0x04” [7:0].
    4. PMIC sets the bit when error occurs.
